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AO 245D (Rev 02/l 8) judgment in a Criminal Case for Revocations

Sheet l

UNiTED STATES DisTRiCT CoURT F 1 L E D

District of Columbia

UNITED STATES OF Al\/IERICA
v.

JONATHAN TUAN-ANH TRAN

THE DEFENDANT:

§ admitted guilt to violation of condition(s) 1 and 3~_

l:l was found in violation of condition(s) count(s)

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation

Q_J_h

JUl. i § 2018
Judgment in a Criminal Case

- - ' ict & Bankruptcy
(For Revocation of Probation or Supmg$¥§dlf‘:l}§{é§gzsmm of Columbia

Ca$€ NO_ 17~0|'°001 36'JEB
USM NO‘ 83189~007

 

Defendant`s Attorney

ofthe term of supervision

after denial of guilt.

Violation Ended

1. standard condition 1 The defendant must not knowingly leave the federal judicial 07/06/2018
district where you are authorized to reside without first getting
permission from the Court or the Probation Officer
3. standard condition 3 You must not own, possess, or have access to a dangerous 07/06/2018
The defendant is sentenced as provided in pages 2 through _`7”_ ofthis judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
91 The defendant has not violated condition(s) _2 and 4

and is discharged as to such violation(s) condition

lt is ordered that the defendant must notif the United St_ate_s attorney for this district within 30_ days of any _ _
change of name, residence, or mailing address unti all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes iri

economic circumstances

Last Four Digits of Defendant’s Soc. Sec. No.: 5522

Defendant’s Year of Biith: 19907_

City and State of Defendant’s Residence:
§Manzano Street, |\/lilpitas, Califorriia 95035

07/17/20‘18

 
 
 

lmposition of .ludgment

 

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lt /
. l Aig/nature ofJudge
James . B sberg, US District Court Judge

 

Name and Title ofludge

v / 1111

Date

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/\() 245D (Rev OZ/l 8) judgment ina Criiiiinal C;is€ for l{c\ iicuiions
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tludgnient`l)age il Oi` 717f n

DEFENDANT: JONATHAN TUAN-ANH TRAN
CASE NUMBER: 17-Cr-OOi36-JEB

Al)DITI()NAL VI()LATIONS

Violation Number Nature of Violation

3 standard condition 3 weapon.

Violation
Concluded

07/06/2018

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A() 245D (Rev 02/\ 8) ludgnient in a Criminal Lase tor Rc\ ocatioiis
Sheet 2#- liiiprisonment

.ludgment¢l’age jr?>i 1 of ¢_ 77 j
DEFENDANT; JONATHAN TUAN-ANH TRAN
CASE NUMBER; i7-Cl'-OOi36-JEB

IMPRISONMENT

The defendant is hereby committed to the custody oftlie Federal Bureau of Prisons to be imprisoned for a total
term of:

Fifteen (15) days, with credit for time served

ij 'l`he court makes the following recommendations to the Burcau of Prisons'

M The defendant is remanded to the custody of the United States l\/Iarshal.

ij The defendant shall surrender to the United States l\/iarshal for this district:
E at U a.m. U p.m. on

l:l as notified by the United States l\/larslial.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons'

l:l before 2 p.m. on

 

l] as notified by the United States l\/Iarslial.

l:l as notified by the Probation or Pretrial Services Office.

RETURN
l have executed thisjudginent as follows;
Defendant delivered on V*## *Yr n 7 ing inn to ~n j j i\d ii j in
at 4 _Af# rig with a certified copy oftliisjudgment.
§ § §§ ui\i§irei) si Ai ts ivi/\§ii}\i§ § §
By

 

DEPUTY uNi'i`ED si'Ai‘i;s MARSHA[

Case 1:17-cr-00136-.]EB Document 35 Filed 07/19/18 Page 4 of 10

A() 245D (Rev 02/l 8) tludgmeiit in a Crimiiial Ctise for Retocations
Sheet 2/\ 4 lmprisonment

 

judgment~l’age _ii \

DEFENDANT: JONATHAN TUAN-ANH TRAN
CASE NUl\/IBER: 17-cr-00136-JEB

ADDITIONAL ll\/IPRISONMENT TERMS

Credit for time served

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AO 245D (Rev 02/\8) judgment in a Criminal Case for Rcvocations
Sheet 3 l Supervised Release
ludgment-Page i§ri of 7
DEFENDANT: JONATHAN TUAN-ANH TRAN
CASE NUl\/IBER: 17-cr-OOl36-JEB

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of.

One (t) year.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime
You must not unlawfully possess a controlled substance
You must refrain from any unlawful use ofa controlled substance You must submit to one drug test within l5 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
l:l 'fhe above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse, (check t/¢ipp/icab/t»)
4. [l You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
rBSfllU'thn. /check y`rl/)})/lcab/e)
5. ij You must cooperate in the collection of DNA as directed by the probation officer. (check i/app/tcab/e)

l:l You must comply with the requirements ofthe Sex Offender Registration and Notification Act (34 U.S.C. § 2090{, er seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside work, are a student, or were convicted ofa qualifying offense. wreck ,fapp/icab/e)

7. l:l You must panicipate in an approved program for domestic violence. tcheck ifapp/imb/e)

j»)m-

You miést comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attache page.

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/\O 2451) (Rev 02/\ 8) judgment in a Criiiiinal Case for l{cvocations

Sheet 3i\ »- Supcrvised Release
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DEFENDANT; JONATHAN TUAN-ANH TRAN
CASE NUMBER: l7-Ct-00136-JEB

STANI)ARD CONI)I'I`I()NS OF SUPERVlSlON

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
different time frame

2 After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how

and when you must report to the probation officer and you must report to the probation officer as instructed

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission

from the court or the probation officei

4. You must answer truthfully the questions asked by your probation officer.

5, You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least lO days before the change lf
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours ofbecoming aware ofa change or expected Cha.nge.

6. You must allow the probation officer to visit you at any time at your home or elsewhere and you must permit tlie probation
officer to take any items prohibited by the conditions ofy our supervision that lie or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of`emp|oyinent, unless the probation officer excuses you
from doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation
officer excuses you from doing so. lf you plan to change where you work or anything about your work (sucli as your position
or yourjob responsibilities), you must notify the probation officer at least lO days before the change lfnotifyiiig the
probation officer at least lO days in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware ofa change or expected change

8. You must not communicate or interact with someone you know is engaged in criminal activity. if you know someone has
been convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the
permission ofthe probation officer.

9 If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 liours.

lO. You must not own, possess, or have access to a firearm ammunition destructive device, or dangerous weapon (i e anything
that was designed, or was modified for the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer
may require you to notify the person about the risk and you must comply with that instruction The probation officer may
contact the person and confirm that you have notified the person about the risk.

13. You must follow the instructions ofthe probation officer related to the conditions of supervision

L»J

U..S. Probation Off`ice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions Foi' further information regarding these conditions, see Oi'e/~i'/eit' 1)/`/’/”()/)¢///¢”) and
Supervisea’ Re/ease Condilions, available at: www .uscourts gov.

Defendant's Signature n 7 7 7 7 77 7 id Date

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DEFENDANT: JONATHAN TUAN-ANH TRAN
CASENUMB[;`R: 17-cr-00136-JEB

SPECIAL COND|TIONS OF SUPER_VISION

Upon release from custody, you shall be placed on supervised release for a term of twelve (12) months You must report
to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
imprisonment unless the probation officer instructs you to report to a different probation office or within a different time
frame. -

You must continue to comply with all mandatory and standard conditions previously ordered by this court as well as the
following special conditions

1. You will be monitored by the form of location monitoring technology indicated below for a period of 12 months and you
must follow the rules and regulations of the location monitoring program The costs of the program are waived unless the
defendant is employed and can afford it. This form of location monitoring technology will be used to monitor the following
restriction on your movement in the community: l

- GPS l\/lonitoring

- You are restricted to your residence every day from 10:00pm to G:OOam (Curfew). This may be modified in light of
employment

2. You must participate in a mental health treatment program and follow the rules and regulations of that program The
probation officer, in consultation with the treatment provider, will supervise your participation in the program (provider,
location, modality, duration, intensity, etc ).

3. You are prohibited from entering the grounds of the US Capito|, Nationa| l\/lall or the White l-louse, and you are to stay
away from any Trump l-lotei or other Trump property worldwide for the duration of supervision This is to include elected
officials iri DC. please see attached maps for full stay-away boundaries

4. You shall submit to an interview with the US Secret Service (USSS) Speciai Agents or other personnel the USS deems
necessary to assist iri its threat assessment regarding the degree of risk you may pose to persons and facilities under the
protection of the USSs, and will cooperate fully with any inquiries that the USSS carries out pursuant to its responsibilities
under 18 USC § 3056 and any other applicable laws

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